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SOUTHERN DISTRICT OF INDIANA

INDIANAPOLIS DIVISION' MAY 0 2 2
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UNITED sTATEs oF A_MERICA, ) U.S. CLER ,
Plarnt1ff, ) ' ’ Dl/L‘\NA
. . ) ' l
V. ) CAUSE NO. 1218-Gr-v
)
KEITH ANTHONY BICKETT, ) _ l
' )1:18-01'-0129[WE TAB
Defendant. ) _ l
INDICTMENT
COUNT ONE

[18 U.S.C. §§ 1951 and 2 - Interference with Commerce by Means of Robbery]

The Grand-Jury charges that:

l. At all times material to this Indictment, the Ha.rem House Gentlemen’s Club,
located at 8501 Pendleton Pike, Lawrence, Indiana, (“Harem House”) was engaged in interstate
commerce through various means, including the purchase and re-sale of articles and
commodities that had moved in interstate commerce.

2. At all times material to this Indictment, Harem House held and used a bank n
account for business purposes, to wit: an account with First Financial Bank of Hamilton, Ohio.

3. On or about October 29, 2017, in the Southern District of Indiana, Indianapolis
Division, defendant KEITH ANTHONY BICKETT, aided and abetted by persons known and
unknown to the Grand Jury, did unlawfully obstruct, delay and affect, and attempt to obstruct,
delay and affect, commerce, as that term is defined in Title 18, United States Code, Section
l951(b)(3), and the movement of articles and commodities in such commerce, by robbery, as

that term is defined in Title 18, United States Code, Section 1951(b)(l), in that defendant KEITH

l

 

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ANTHONY BICKETT, aided and abetted by persons known and unknown to the Grand Jury, n
did unlawfully take and obtain monies in the custody, possession, and presence of employees of
Harem House, against said employees’ wills, by means of actual and threatened force, violence,
and fear of immediate injury to said employees, in that defendant KEITH ANTHONY
BICKETT, used, carried, displayed, brandished, and discharged a firearm in the presence of said
employees, '

All in violation of Title 18, United States Code, Sections l951(a) and 2.

COUNT TWO
[18 U.S.C. §§ 924(0) and 2 - Discharging a Firearrn During a Crime of Violence]

The Grand Jury further charges that:

On or about October 29, 2017, in the Southern District of Indiana, Indianapolis Division,
defendant KEITH ANTHONY BICKETT, aided and abetted by persons known and unknown to
the Grand Jury, did knowingly discharge a firearm during and in relation to a crime of violence
for which said defendant may be prosecuted in a court of the-United States, that is, Interference
with Commerce by Means of Robbery, in violation of Title 18, United States Code, Section
l951(a), as charged in Count l of the Indictment,

All in violation of Title 18, United States Code, Sections 924(c)(l)(A) and 2, and
punishable under Title 18, United States Code, Section 924(c)(l)(A)(iii).

FORFEI'l`URE

l. The allegations in Counts One and Two of this Indictrnent are realleged as if fully

set forth here, for the purpose of alleging forfeiture pursuant to Title 18, United States Code,

Section 924, and Title 28, United States Code, Section 2461(c).

 

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2. If convicted of the offenses set forth in Counts One or Two of this Indictment,
defendant KEITH ANTHONY BICKETT shall forfeit to the United States, pursuant to Title 18,
United States Code, S_ection 924(d), as well as Title 28, United States Code, Section 246l(c), any

_ firearm or ammunition involved in or used in the offense of which he is convicted.

A TRUE BILL:

 

JOSH J. MINKLER
United States Attomey

/MMN

M. Kendra Klurnp
Assistant United States Attomey

 

 

 

 

